148 F.3d 353
    Clarence HINES;  John Cooke Wilson;  Orlando Brinson;Khalil Kasson Ali Al-Munin;  Coy S. Gunter;  Lumumba MumiaTafari-i a/k/a Lummie Hearns;  Malik Baqi;  Tahrim SupremeC. Jihad;  Kenneth Washington;  Salaam A. Hakim a/k/aMichael Bailey;  Zakariya Abdul Shahid;  Ray CharlesDegraffenreid;  Maurice Livingston;  Demarcus Marshall;Hakim Sabur Muhammad;  Ras Kolonji Muata Kafele;  WillieJames Asbury;  Mustafa Abdullah A. Al-Mujahid;  John MichaelGladney;  Davis Young;  Bruce Scott;  Chris Lefever;  DashelStrobert;  Vincent Kemp;  Larry Bobean;  Royce MauriceCollins;  John Brinson;  Gary L. Moore;  Jame A. Khaliq;Lester Young;  Philip H. Tanner;  Michael Landry;  DonchellWade Blatch;  William R. Smith;  Mark T. Larsen;  KahimKhamil Muhammad;  Adrian Hicks;  Matin Abdul Ali Muntaqima/k/a Marshall L. Land;  Yusuf Ahmad Abdullah Muhammad;Heyward Harrison, Jr.;  Barry Alan Fowler;  Raheem AbdullahAl-Raqib;  James B. Patterson;  Don Eric Robertson;  TyroneMitchell;  Omar Abdel Al Numit a/k/a John James Bell;  CecilAllen Simmons;  Joseph T. Jackson;  Willie Gary;  KojoSoweto Ameen;  Malcom Omawale Abdullah;  Gerald Garner;Quash A. Abbass a/k/a Charles James Lee a/k/a Rush Abdul B.Ali Abu Abbass;  Gregory L. Fennell;  Ras Kolonji MutataKafele;  Edward Bull;  Freddie Green;  Utamu Mfume;  CurtisA. Nicholas;  Jimmy L. Belton;  Kevin Smith;  Ras Njonjo AfiKhafre;  Frank J. Burgess;  Eddie L. Hall;  Steven Phillips;Theodore Harrison, Jr.;  Kevin Smith;  Roderick DennisFolks;  Llewellyn Nelson;  Lummie Hearins;  Shaka MacumbaZulu X a/k/a Michael W. Montgomery;  Gregory Campbell;Gregg L. Ray;  Rufus Muldrow;  Khayri Abdullah Muhammad;Derrell Edwards;  Donald Lloyd;  Timothy C. Baker;  Ahmad M.Mujihadin a/k/a Robert Frost;  Tafara Moyenda a/k/a RobertFrost;  Jerome Williams;  Elvis C. Taylor;  Everton BinCrosby;  William J. Copeland;  Owen Henderson;  CharlesSergio Hagler, Jr.;  Colville Brissett;  Ahmad Kans AbdulSattar;  Marchs A. Joseph;  Mikail Abdullah;  RonnieBrightman;  Terry Michael Cassell, Plaintiffs-Appellants,andTommy E. Blackmon;  William Whaley;  Reginald R. Ferguson;Michael Campbell;  Van Tyler, Jr.;  Ismail AbdurRashid;  Mack Allen Davis, Plaintiffs,andUnited States of America, Intervenor,v.SOUTH CAROLINA DEPARTMENT OF CORRECTIONS;  State of SouthCarolina;  David Beasley, Governor;  Michael Moore,Director, South Carolina Department of Corrections;  OmarShaheed;  Terry Brooks;  Ralph Medlock;  Edsel T. Taylor,Warden;  Robert Ward, Warden;  Susan Hilton;  John W.Porter;  Ray Reese;  Yohance Moyenda;  Lt. Fnu;  Sgt. Fitts;Deputy Warden McCants;  Warden Montgomery;  Bernard Walker,Deputy Warden;  Marvin T. Jarrett;  Riley James;  RicardoGrant;  Yasin Abdul-Hakim;  Abreham Peoples;  James D.Robinson, ASU Supervisor;  Geraldine Miro, Warden;  LaurieBessinger, Warden;  Chaplain Scotland;  J.P. Hall;  GlynnSherman, Chaplain;  Jim Beam, Warden;  Oscar Faulkenberry;C.J. Cepak, Warden;  Vaughn Jackson;  William Weldon,Warden;  William Davis, Warden;  George Martin, III, Warden;Tony Strawhorn;  Sam D. O'Kelley;  Milan O'Bradovich;Elaine Robinson, Deputy Warden;  Joseph Black, DeputyWarden;  Philip McLeod;  Larry Batson;  Clarence Benjamin;R. Woodberry;  Fred Thompson;  Officer Martin;  N. McLendon;Irc Brown;  R. Adams;  Morris Elmore;  John Pate;  PaulButler;  John Maxey;  J.D. Wessinger;  Frank Maddox;Sergeant Casey;  T. White;  Correctional Officer Manigo;  W.Richardson;  E. Spigner;  R. Rice;  P. Little;  CorrectionalOfficer Lee;  S. Chisholm;  N. McFadden;  S. Muhammad;  GaryButts;  Six Unknown Correctional Officers, in "Riot" Unit;Bobby Rutherford;  James Savage;  Richard Bundrick;  NatalieWilliams;  William Martin;  Terrel Cannon, Sr.;  W.Richardson;  Reggie Rouse;  Dr. Boolware, Defendants-Appellees.Clarence HINES;  John Cooke Wilson;  Orlando Brinson;Khalil Kasson Ali Al-Munin;  Coy S. Gunter;  Lumumba MumiaTafari-I a/k/a Lummie Hearns;  Malik Baqi;  Tahrim SupremeC. Jihad;  Kenneth Washington;  Salaam A. Hakim a/k/aMichael Bailey;  Zakariya Abdul Shahid;  Ray CharlesDegraffenreid;  Maurice Livingston;  Demarcus Marshall;Hakim Sabur Muhammad;  Ras Kolonji Muata Kafele;  WillieJames Asbury;  Mustafa Abdullah A. Al-Mujahid;  John MichaelGladney;  Davis Young;  Bruce Scott;  Chris Lefever;  DashelStrobert;  Vincent Kemp;  Larry Bobean;  Royce MauriceCollins;  John Brinson;  Gary L. Moore;  Jame A. Khaliq;Lester Young;  Philip H. Tanner;  Michael Landry;  DonchellWade Blatch;  William R. Smith;  Mark T. Larsen;  KahimKhamil Muhammad;  Adrian Hicks;  Matin Abdul Ali Muntaqima/k/a Marshall L. Land;  Yusuf Ahmad Abdullah Muhammad;Heyward Harrison, Jr.;  Barry Alan Fowler;  Raheem AbdullahAl-Raqib;  James B. Patterson;  Don Eric Robertson;  TyroneMitchell;  Omar Abdel Al Numit a/k/a John James Bell;  CecilAllen Simmons;  Joseph T. Jackson;  Willie Gary;  KojoSoweto Ameen;  Malcom Omawale Abdullah;  Gerald Garner;Quash A. Abbass a/k/a Charles James Lee a/k/a Rush Abdul B.Ali Abu Abbass;  Gregory L. Fennell;  Ras Kolonji MutataKafele;  Edward Bull;  Freddie Green;  Utamu Mfume;  CurtisA. Nicholas;  Jimmy L. Belton;  Kevin Smith;  Ras Njonjo AfiKhafre;  Frank J. Burgess;  Eddie L. Hall;  Steven Phillips;Theodore Harrison, Jr.;  Kevin Smith;  Roderick DennisFolks;  Llewellyn Nelson;  Lummie Hearins;  Shaka MacumbaZulu X a/k/a Michael W. Montgomery;  Gregory Campbell;Gregg L. Ray;  Rufus Muldrow;  Khayri Abdullah Muhammad;Derrell Edwards;  Donald Lloyd;  Timothy C. Baker;  Ahmad M.Mujihadin a/k/a Robert Frost;  Tafara Moyenda a/k/a RobertFrost;  Jerome Williams;  Elvis C. Taylor;  Everton BinCrosby;  William J. Copeland;  Owen Henderson;  CharlesSergio Hagler, Jr.;  Colville Brissett;  Ahmad Kans AbdulSattar;  Marchs A. Joseph;  Mikail Abdullah;  RonnieBrightman;  Terry Michael Cassell, Plaintiffs-Appellees,andTommy E. Blackmon;  William Whaley;  Reginald R. Ferguson;Michael Campbell;  Van Tyler, Jr.;  Ismail AbdurRashid;  Mack Allen Davis, Plaintiffs,andUnited States of America, Intervenor-Appellee,v.Edsel T. TAYLOR, Warden;  Robert Ward, Warden;  JamesRobinson, ASU Supervisor;  Geraldine Miro, Warden;  LaurieBessinger, Warden;  Chaplain Scotland;  J.P. Hall;  GlynnSherman, Chaplain;  Jim Beam, Warden;  Oscar Faulkenberry;C.J. Cepak, Warden;  Vaughn Jackson;  William Weldon,Warden;  William Davis, Warden;  George Martin, III;  TonyStrawhorn;  Sam D. O'kelley;  Milan O'bradovich;  ElaineRobinson, Deputy Warden;  Joseph Black, Deputy Warden;Philip Mcleod;  Larry Batson;  Clarence Benjamin;  R.Woodberry;  Fred Thompson;  Officer Martin;  N. Mclendon;Irc Brown;  R. Adams;  Morris Elmore;  John Pate;  PaulButler;  John Maxey;  J.D. Wessinger;  Frank Maddox;Sergeant Casey;  T. White;  Correctional Officer Manigo;  W.Richardson;  E. Spigner;  R. Rice;  P. Little;  CorrectionalOfficer Lee;  S. Chisholm;  N. Mcfadden;  S. Muhammad;  GaryButts;  Six Unknown Correctional Officers In "Riot" Unit;Bobby Rutherford;  James Savage;  Richard Bundrick;  NatalieWilliams;  William Martin;  Terrel Cannon, Sr.;  W.Richardson;  Reggie Rouse;  Dr. Boolware;  Susan Hilton;John W. Porter;  Ray Reese;  Yohance Moyenda;  Lt. Fnu;Sgt. Fitts;  Deputy Warden Mccants;  Warden Montgomery;Bernard Walker, Deputy Warden;  Marvin T. Jarrett;  RileyJames;  Ricardo Grant;  Yasin Abdul-hakim;  Abreham Peoples,Defendants-Appellants,andSouth Carolina Department of Corrections;  State Of SouthCarolina;  David Beasley, Governor;  Michael Moore,Director, South Carolina Department of Corrections;  OmarShaheed;  Terry Brooks;  Ralph Medlock, Defendants.
    Nos. 96-7318, 96-7402.
    United States Court of Appeals,Fourth Circuit.
    Argued April 8, 1998.Decided June 23, 1998.
    
      ARGUED:  Patrick James Flynn, University of South Carolina School of Law, Columbia, South Carolina, for Appellants.  David Clifford Eckstrom, Nexsen, Pruet, Jacobs &amp; Pollard, L.L.P., Columbia, South Carolina, for Appellees.  ON BRIEF:  Thomas C.R. Legare, Jr., Nexsen, Pruet, Jacobs &amp; Pollard, L.L.P., Columbia, South Carolina;  Andrew F. Lindemann, Ellis, Lawhorne, Davidson &amp; Sims, P.A., Columbia, South Carolina;  James M. Brailsford, III, Robinson, Mcfadden &amp; Moore, P.A., Columbia, South Carolina, for Appellees.
      Before ERVIN and HAMILTON, Circuit Judges, and OSTEEN, United States District Judge for the Middle District of North Carolina, sitting by designation.
      Affirmed by published opinion.  Judge HAMILTON wrote the opinion, in which Judge ERVIN and Judge OSTEEN joined.
      OPINION
      HAMILTON, Circuit Judge:
    
    
      1
      This case arises from complaints filed by approximately 100 inmates confined by the State of South Carolina (the Inmates) against the South Carolina Department of Corrections (the Department) and various state officers and prison officials (collectively, the Defendants).  The Inmates are Muslims, Rastafarians, Native Americans, and other individuals who are challenging a grooming policy that requires all male inmates to keep their hair short and their faces shaven (the Grooming Policy).  The Inmates claim that the Grooming Policy forces them to compromise their religious beliefs and practices, and therefore violates their rights guaranteed by the Free Exercise Clause of the First Amendment.  U.S. Const. amend.  I. Because we conclude that the Grooming Policy does not violate the Inmates' free exercise rights, we affirm the grant of summary judgment in favor of the Defendants.
    
    
      2
      * Soon after his appointment in 1995 as Director of the Department of Corrections, Michael Moore instituted a prison reform program that included the Grooming Policy at issue in this case.  The Grooming Policy requires, inter alia, that all male inmates keep their hair short and their faces shaven.  Braids, plaits, mohawks and other "extreme" hair styles are prohibited.  Neatly-groomed mustaches are permitted, but beards are forbidden unless the inmate has a medical condition that would be aggravated by shaving.
    
    
      3
      Moore implemented the Grooming Policy in order to address concerns about gang activity, prison security, and prisoner discipline.  Moore believed that prisoners used extreme hairstyles and a lack of grooming to symbolize their defiance to prison authority.  This, in turn, made it more difficult to maintain order and discipline.  Similarly, prison gangs tried to intimidate correctional officers and victimize other inmates, and officials were aware that prison gangs used hairstyle to maintain group identity.  In addition, long hair, extreme hairstyles and beards allowed inmates to change their appearance quickly.  A pictorial demonstration in the district court illustrated just how quick and drastic the change in appearance could be.  Prison officials were concerned that inmates could use this technique to avoid capture in the event of escape, or avoid detection or identification if they committed a crime in prison.  Finally, prison officials were aware of numerous incidents where inmates had hidden drugs, weapons and other dangerous contraband in their long hair or dreadlocks.
    
    
      4
      No prisoners are forcibly shaved or shorn.  Instead, those inmates who refuse to comply with the Grooming Policy are reclassified to a more restrictive security level and moved to a higher security cell.
    
    
      5
      The Inmates each filed separate pro se complaints in the United States District Court for the District of South Carolina under 42 U.S.C. § 1983, the Religious Freedom Restoration Act (RFRA), 42 U.S.C. §§ 2000bb to 2000bb-4, and the First Amendment to the United States Constitution, alleging that the Grooming Policy violated their right to free exercise of religion.  The district court consolidated the cases to allow the challenges to be heard in one proceeding.  The Defendants, on the other hand, challenged the constitutionality of RFRA, and the United States intervened to argue for RFRA's constitutionality.
    
    
      6
      The parties filed cross-motions for summary judgment.  On July 17, 1996, the district court entered an order granting the Defendants' motion, upholding the Grooming Policy under both RFRA and the First Amendment.*  After the Inmates filed their notice of appeal, the Defendants cross-appealed the constitutionality of RFRA.  On June 25, 1997, the Supreme Court handed down its decision in City of Boerne v. Flores, --- U.S. ----, 117 S.Ct. 2157, 138 L.Ed.2d 624 (1997), holding RFRA to be unconstitutional.  As a result of Flores, we now hold that the Inmates' RFRA claims and the Defendants' cross-appeal are moot.
    
    II
    
      7
      * We review the district court's grant of summary judgment de novo.  See Higgins v. E.I. DuPont de Nemours &amp; Co., 863 F.2d 1162, 1167 (4th Cir.1988).  Summary judgment is appropriate when the pleadings, depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any material fact and that the moving party is entitled to judgment as a matter of law.  See Fed.R.Civ.P. 56(c).
    
    B
    
      8
      The Free Exercise Clause, which has been made applicable to the States through the Fourteenth Amendment, see Cantwell v. Connecticut, 310 U.S. 296, 303, 60 S.Ct. 900, 84 L.Ed. 1213 (1940), provides that "Congress shall make no law ... prohibiting the free exercise" of religion.  U.S. Const. amend.  I. Accordingly, the clause forbids state governments from adopting laws designed to suppress religious beliefs or practices.  See Church of the Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 523, 113 S.Ct. 2217, 124 L.Ed.2d 472 (1993).  In struggling to define the limits on government action that impacts the exercise of religion, the Supreme Court has formulated several different tests.  See, e.g., Employment Division, Dep't of Human Resources v. Smith, 494 U.S. 872, 876-79, 110 S.Ct. 1595, 108 L.Ed.2d 876 (1990) (formulating a "generally applicable regulation" test), and O'Lone v. Estate of Shabazz, 482 U.S. 342, 349, 107 S.Ct. 2400, 2404, 96 L.Ed.2d 282 (1987) (formulating a "reasonably related to legitimate penological interests" test).  In their briefs and oral arguments, the parties expended significant energy disputing whether prisoner cases such as the one at bar should be governed by O'Lone or by the Supreme Court's more recent decision in Smith.   However, because we conclude below that the Grooming Policy is valid under either approach, we decline to resolve that dispute at this time.
    
    
      9
      * The Supreme Court held in Smith that a neutral, generally applicable law does not offend the Free Exercise Clause, even if the law has an incidental effect on religious practice.  See Smith, 494 U.S. at 876-79, 110 S.Ct. 1595;  see also American Life League, Inc. v. Reno, 47 F.3d 642, 654 (4th Cir.1995) (explaining Smith ).   A law is considered neutral if it proscribes conduct without regard to whether that conduct is religiously motivated or not.  See id.   If the law makes no distinction between action based on religious conviction and action based on secular views, it is a generally applicable law, neutral toward religion and not violative of the First Amendment.  See id.   The Grooming Policy satisfies these requirements.
    
    
      10
      The Grooming Policy requires all male inmates, regardless of their religious views or beliefs, to keep their hair short and their faces shaven.  It is clear from the record that the Grooming Policy was implemented to help eliminate contraband, reduce gang activity, identify inmates, and maintain order in South Carolina's prisons.  There is no suggestion that the Grooming Policy was enacted to burden anyone's free exercise rights, or was at all motivated because of the religious beliefs or practices of any inmate.  Thus, although the Grooming Policy may have an incidental effect of preventing the Inmates from wearing their hair and beards as their religion prescribes, under Smith, the Grooming Policy is a neutral and generally applicable regulation and, therefore, does not violate the Free Exercise Clause.
    
    2
    
      11
      In O'Lone, the Supreme Court held that a prison regulation that impinges on an inmate's free exercise rights is valid if it is reasonably related to legitimate penological interests.  See O'Lone, 482 U.S. at 349, 107 S.Ct. 2400 (quoting Turner v. Safley, 482 U.S. 78, 89, 107 S.Ct. 2254, 96 L.Ed.2d 64 (1987)).  We assume for purposes of this case, without deciding, that the Grooming Policy infringes on the Inmates' sincerely held religious beliefs.  The threshold issue is, therefore, whether the Grooming Policy is reasonably related to legitimate penological interests.
    
    
      12
      O'Lone identified several factors relevant to this reasonableness determination:  (1) a regulation must have a logical connection to legitimate governmental interests invoked to justify it;  (2) the inmates should have alternative means of exercising their religious rights;  and (3) accommodating the inmates' rights should not severely impact other inmates, prison officials and allocation of prison resources generally.  See id. at 350-53, 107 S.Ct. 2400.   The Grooming Policy at issue in this case satisfies each of these factors.
    
    
      13
      First, the record is clear that the Grooming Policy was enacted to suppress contraband, limit gang activity, maintain discipline and security, and prevent inmates from quickly changing their appearance.  It cannot be gainsaid that these are legitimate--indeed, compelling--governmental and penological interests.  Moreover, the Grooming Policy logically serves those interests because inmates may no longer hide contraband in long hair or dreadlocks, use beards or hair style as gang identifiers, or alter their appearance with a quick shave or haircut.  Second, the inmates do not dispute that they are permitted to practice other tenets of their religion;  they therefore have alternative means of exercising their religious rights.  Finally, the record shows that searches of inmates with long hair are less effective and more time consuming than searches of inmates with short hair.  Accommodating the Inmates' religious practices may therefore result in increased contraband and less safety for guards and inmates, and require the hiring of additional guards.
    
    
      14
      We reject the Inmates' suggestions that the Department should use less restrictive means to achieve its desired goals.  O'Lone established a rational relation test:  once the Department demonstrates it is pursuing a legitimate governmental objective, and demonstrates some minimally rational relationship between that objective and the means chosen to achieve that objective, we must approve of those means.  See id. at 349, 107 S.Ct. 2400.   Because we conclude that the Department's Grooming Policy is an eminently rational means of achieving the compelling governmental and penological interests of maintaining order, discipline and safety in prisons, we uphold the Grooming Policy under O'Lone.
    
    3
    
      15
      Our decision in Gallahan v. Hollyfield, 670 F.2d 1345 (4th Cir.1982), does not require a different result.  In Gallahan, we struck down a Virginia prison regulation which required all inmates to cut their hair so that it did not extend below the top of the collar.  Id. at 1346-47.   In reaching this decision, we held that a prison regulation which infringes upon a prisoner's free exercise rights must be "substantially justified" by considerations of prison safety, discipline, and order.  Id. at 1346.   Furthermore, we found the asserted justifications for the Virginia prison regulation--that long hair could be used to shroud an inmate's features and prevent quick identification;  could provide a hiding place for contraband;  and is unsanitary--to be "overly broad" or "lacking in substance."  Id. at 1346.
    
    
      16
      As the Inmates tacitly concede, the test developed in Gallahan is inconsistent with the Supreme Court's tests set forth in O'Lone and Smith.   Accordingly, the Gallahan test is no longer good law in this circuit.  Nonetheless, the Inmates claim that the asserted justifications in this case, which are similar to the asserted justifications in Gallahan, are "overly broad" or "lacking in substance."   We disagree.  The evidence in this case is overwhelming that the Defendants were addressing actual dangerous situations that had arisen in South Carolina prisons, situations that would be addressed effectively through the Grooming Policy.  Accordingly, Gallahan is also distinguishable on its facts.
    
    III
    
      17
      For the reasons stated above, the district court's order granting summary judgment in favor of the Defendants is hereby
    
    
      18
      AFFIRMED.
    
    
      
        *
         The district court also granted summary judgment to the defendants sued in their official capacities because they were entitled to immunity under the Eleventh Amendment, and granted summary judgment to the defendants sued in their individual capacities because they were entitled to qualified immunity.  The Inmates do not contest these rulings on appeal;  they now seek only prospective, injunctive relief from the Grooming Policy.  Consequently, the Department of Corrections and the State of South Carolina are the only Defendants involved in this appeal
      
    
    